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                           FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT

        BLACK LIVES MATTER LOS                      No. 22-56161
        ANGELES; CANGRESS; LINUS
        SHENTU, individually and on behalf             D.C. No.
        of a class of similarly situated persons;   2:20-cv-05027-
        STEVEN ROE; NELSON LOPEZ;                      CBM-AS
        TINA CRNKO; JONATHAN
        MAYORCA; ABIGAIL RODAS;
        KRYSTLE HARTFIELD; NADIA                      OPINION
        KAHN; CLARA ARANOVICH;
        ALEXANDER STAMM; MAIA
        KAZIN; ALICIA BARRERA-
        TRUJILLO; SHANNON LEE
        MOORE; DEVON YOUNG; EVA
        GRENIER; DAVID CONTRERAS,

                       Plaintiffs-Appellees,

          v.

        CITY OF LOS ANGELES, a
        municipal entity; MICHEL MOORE,
        Chief,

                       Defendants-Appellants.

                Appeal from the United States District Court
                    for the Central District of California
               Consuelo B. Marshall, District Judge, Presiding
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                   Argued and Submitted March 28, 2024
                           Pasadena, California

                            Filed September 5, 2024

            Before: Johnnie B. Rawlinson, Kenneth K. Lee, and
                      Daniel A. Bress, Circuit Judges.

                             Opinion by Judge Lee


                                  SUMMARY *


                      Civil Rights / Class Certification

            The panel vacated the district court’s class certification
        order in a putative class action against the City of Los
        Angeles and then-Los Angeles Police Department (LAPD)
        Chief Michel Moore alleging that the LAPD used excessive
        force against protestors, arrested protesters without probable
        cause, and restricted their First Amendment rights, in the
        wake of protests following George Floyd’s death in May
        2020.
           The district court certified four classes: three classes
        seeking to hold the City liable for damages under Monell v.
        Department of Social Services of City of New York, 436 U.S.
        658 (1978), which requires plaintiffs to prove that an LAPD



        *
         This summary constitutes no part of the opinion of the court. It has
        been prepared by court staff for the convenience of the reader.
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        custom or policy caused their injuries; and a fourth class
        seeking injunctive relief against the LAPD.
            The panel vacated the district court’s class certification
        order because the district court did not rigorously analyze
        whether the plaintiffs produced sufficient evidence to meet
        the class certification requirements. Specifically, the district
        court did not rigorously analyze whether the three damages
        classes satisfied the commonality requirement under Rule
        23(a), nor did it address whether common questions
        predominate over individual ones under Rule 23(b)(3). The
        district court also failed to address whether the injunctive
        relief class met the commonality requirement under Rule
        23(a). While common questions need not predominate over
        individual questions for a class to be certified as a Rule
        23(b)(2) injunctive class, district courts still must identify
        what questions are common to the class and how the
        plaintiffs will present evidence about those questions on a
        class-wide basis.
            Accordingly, the panel vacated the district court’s class
        certification order and remanded with instructions for the
        district court to fully address Rule 23’s class certification
        requirements.
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                                 OPINION

        LEE, Circuit Judge:

            After George Floyd’s death in the summer of 2020, Los
        Angeles erupted into protests. For approximately ten days,
        tens of thousands of people took to the streets across the
        City. Some of these protests were peaceful. Others were
        not. In response, the Los Angeles Police Department
        (LAPD) set curfews, declared demonstrations unlawful,
        used non-lethal force to control crowds, and arrested
        thousands of people.
            About a week after the protests began, the plaintiffs filed
        this putative class action against the City and then-LAPD
        Chief Michel Moore, alleging that the LAPD used excessive
        force, arrested protestors without probable cause, and
        restricted their First Amendment rights. The lawsuit
        includes four classes: (1) a Direct Force Class, which seeks
        damages on behalf of every person hit by less-lethal force of
        any kind during any protest that summer; (2) an Arrest Class,
        which seeks damages on behalf of persons who were
        arrested for protest activity; (3) an Infraction Class, which
        seeks damages on behalf of every person arrested for an
        infraction; and (4) an Injunctive Relief Class, which seeks to
        enjoin the LAPD from (i) unreasonably using less-lethal
        weapons, (ii) imposing a curfew, (iii) giving dispersal orders
        without adequate sound amplication and an opportunity to
        disperse, (iv) detaining protestors on buses with no access to
        food, water or a bathroom, or (v) using too-tight zip-tie
        handcuffs in conducting arrests, and more.
            To certify a class under Federal Rule of Civil Procedure
        23, plaintiffs must first show that common questions exist,
        meaning that questions can be resolved using class-wide
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        evidence.      And to certify a damages class under
        Rule 23(b)(3), plaintiffs have a higher burden of proving that
        common questions predominate over individual ones. The
        district court certified all four classes, but it did not address
        whether the damages classes satisfy Rule 23(b)(3)’s
        predominance requirement and did not adequately analyze
        Rule 23(a)’s commonality question. Nor did it address
        whether the Injunctive Relief Class meets the commonality
        requirement.
            We vacate the class certification and remand for the
        district court to fully address Rule 23’s requirements. Under
        Rule 23, district courts must rigorously analyze whether
        plaintiffs have produced sufficient evidence that they have
        met class certification requirements. That requires the
        district court to engage with each of Rule 23’s prerequisites.
        That the classes bring fact-specific constitutional claims
        challenging a wide variety of LAPD’s actions across Los
        Angeles underscores the importance of the rigorous analysis
        in a case like this.
                              BACKGROUND
            I. Protests erupt around Los Angeles.
             In the wake of George Floyd’s death in May 2020, cities
        across the country experienced what would be a nationwide,
        historic demonstration against police violence and for racial
        justice. On May 27, Los Angeles became one of the first
        cities to see these widescale protests. That evening, at
        around 6:00 p.m., several hundred people left what had been
        a peaceful demonstration and walked onto the 101 Freeway,
        where they blocked traffic and broke the windows of two
        California Highway Patrol (CHP) vehicles. The next day,
        five hundred to a thousand people peacefully marched
        through downtown, but a couple hundred stopped traffic on
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        the 110 Freeway. And on Grand Avenue, one LAPD officer
        was dragged into a crowd while police cars were destroyed
        nearby.
            Over the next week, the disturbances spread, even as
        many others demonstrated peacefully. Often, a single
        protest would include both violent and non-violent
        protestors. Abigail Rodas, for example, was protesting
        peacefully in the Fairfax area when people behind her threw
        hard objects at police. Not far away, an “organized convoy
        of cars” arrived and began to loot businesses and set fires.
        At the same time, a group of protestors in the area overtook
        and vandalized a public bus that displayed an LAPD
        advertisement.
            The LAPD at first tried to manage the protests by
        declaring the gatherings unlawful and ordering the protestors
        to disperse. Sometimes, the dispersal orders worked, but
        other times, they did not. Over the first few days of protests,
        the LAPD arrested a couple hundred people. Some were for
        misdemeanors and infractions, such as refusing to obey
        police orders, but others were for serious crimes, such as
        assault and attempted murder.
          II. The LAPD uses force on protestors.
            As the protests around the City grew more chaotic, the
        LAPD’s response became more forceful. On May 30—three
        days into the protests—the City declared a state of
        emergency and announced an 8:00 p.m. curfew. The LAPD
        also received backup from other law enforcement agencies,
        such as the Santa Barbara police and the Orange County
        Sheriff’s Department (which are not defendants here).
            It did little to abate the situation. That afternoon, a group
        of protestors broke off from a larger crowd in the Fairfax
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        area and slashed the tires on a city bus, then spray-painted
        and threw objects at it—while the driver and passengers
        remained inside it. When police arrived to evacuate the bus,
        they were overrun, and protestors lit their unattended cars on
        fire. Meanwhile, as thousands of people gathered at the Pan
        Pacific Park, the LAPD received word that a different crowd
        was formulating a plan to take over the Hollenback police
        station.
            With so much happening at once, many protestors
        suffered injuries, but not necessarily at the hands of the
        LAPD. Nadia Khan, for example, says “police” shot pellets
        at her and sprayed her with tear gas while she was at a protest
        in the Pan Pacific Park—but the LAPD did not use tear gas
        on that crowd. Similarly, Abigail Rodas says that an officer
        hit her with a rubber bullet while she was protesting near the
        crowd that attacked a public bus, but according to a hospital
        record from the day of the injury, she tripped and hit her face
        on the ground.
            Of those who were harmed, injuries ranged from
        cosmetic to severe. Plaintiffs Johnathan Mayorca, Alicia
        Barrera-Trujillo, Nadia Khan, and Nelson Lopez were all
        part of protests where less-lethal force was used, but none of
        them was seriously hurt. Clara Aranovich and Eva Grenier,
        meanwhile, suffered bruises after being hit with batons at
        close range by officers trying to push back the crowds.
        David Contreras was hit in the eye with a rubber bullet,
        which caused it to swell shut, while Shannon Lee Moore
        took a beanbag to the back of her head while accompanying
        a friend who was filming a protest in Hollywood. Abigail
        Rodas might not have been hit by anything at all, but she left
        the protests with a fractured jaw that required surgery. And
        Tina Crnko was hit in the ribs, biceps, and forehead, which
        she says caused permanent nerve damage and PTSD.
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          III. The LAPD conducts mass arrests.
            To combat the spreading civil unrest, the LAPD
        conducted mass arrests. Krystle Hartsfield was leaving the
        Fairfax protest on the afternoon of May 30 when an LAPD
        officer pushed her and told her she could not go. She was
        then arrested, handcuffed, and put in a van. Another
        plaintiff, Steven Roe, was hit in the stomach with a rubber
        bullet at a May 29 protest outside City Hall, then later
        arrested for violating a dispersal order he says he did not
        know had been issued.
             After they were arrested, some protestors were
        transported on LAPD buses (which had no windows) to
        makeshift booking stations throughout the City. There were
        too few LAPD buses, though, so the LAPD also used
        sheriff’s department buses, which were larger. Some of
        these buses had cages instead of seats. Other protestors
        (including Nelson Lopez and Alicia Barrera-Trujillo) were
        loaded onto the City’s public buses, which are normally used
        to transport paying customers.
            The bus conditions varied. On May 30, Nadia Khan
        waited for around four hours in an overcrowded bus before
        being issued a citation. Two days later, Maia Kazin received
        a citation for violating curfew during a protest on Spring
        Street before being loaded onto a bus, where she stayed for
        about seven hours. During that time, one protestor’s
        shoulder dislocated while another protestor panicked
        because she needed to take medication. The police
        apparently ignored them, and the protestors called 911
        themselves. Nelson Lopez, meanwhile, spent 45 minutes on
        a City bus after a protest at City Hall on May 29, and
        reported that people were “stuffed like sardines” inside, that
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         “tight handcuffs . . . caused bruising,” and that his “right
         shoulder rotator cuff was sore for about a week.”
             The police also treated protestors differently. Although
         the plaintiffs say that the LAPD refused to loosen handcuffs
         or give protestors water, food, or bathroom access, most of
         the representative plaintiffs did not ask for those things.
         Those who asked received different responses. Krystle
         Hartsfield’s friend, who was on the same bus as Hartsfield,
         was given water when she requested it. Nadia Khan asked
         for her handcuffs to be loosened, but the officers ignored her.
         There were no officers on Alicia Barrera-Trujillo’s bus, so
         people who needed medical care or the bathroom went
         without until the bus arrived at the booking station. But on
         some buses, police replaced handcuffs for protestors who
         were in clear pain and explained that they did not have
         enough extras to replace them all.
             Protestors were also arrested for many different reasons.
         Though most protestors received curfew violations, it seems
         that some of those protestors, such as Alicia Barrera-Trujillo,
         were arrested before the curfew. Others, such as Steven Roe
         and Johnathan Mayorca, were arrested for disobeying orders
         they say they did not receive or could not obey. Others yet
         were arrested multiple times for different violations, and
         some (such as plaintiff Nelson Lopez’s mother) were
         arrested despite not being part of the protests at all. And
         some were arrested for more serious crimes like looting and
         assaults with deadly weapons.
           IV. Plaintiffs file this putative class action against the
               City.
             About a week into the protests, the plaintiffs filed this
         putative class action against the City and LAPD Chief
         Moore under 42 U.S.C. § 1983 for violating the First,
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         Fourth, and Fourteenth Amendments as well as under
         California state law. The plaintiffs alleged that nearly all the
         LAPD’s actions in response to the protests were
         unconstitutional. They sought to certify these four classes:

            1. A Direct Force Class of protestors who were “struck
               by either ‘less-lethal weapons’ (including 37mm and
               40mm projectiles, and beanbag shotguns), batons, or
               otherwise physically struck by LAPD officers, and
               who were neither violently resisting nor posing an
               immediate threat of physical harm.”
            2. An Arrest Class of people who were “arrested by the
               LAPD on misdemeanor charges of failure to obey a
               curfew, failure to disperse, failure to follow a lawful
               order of a police officer and/or unlawful assembly,”
               then “held on buses and subjected to prolonged tight
               hand-cuffing, denied access to bathrooms, water and
               food, and enclosed tight spaces without ventilation.”
            3. An Infraction Class of people who were “charged
               with infractions, arrested and taken into custody, and
               not released in the field.”
            4. An Injunctive Relief Class that includes “all
               persons who have in the past participated in,
               presently are participating, or may in the future
               participate in, or be present at, demonstrations within
               the City of Los Angeles,” particularly if those
               demonstrations “relate[] to protesting police violence
               and discrimination against people of color, especially
               African-Americans.”

            The Direct Force, Arrest, and Infraction Classes sought
         damages under Monell v. Department of Social Services of
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         City of New York, 436 U.S. 658 (1978). To hold a
         municipality liable under Monell, the plaintiffs must prove
         that constitutional violations were caused by a municipal
         policy or practice. Id. at 692.
             The plaintiffs alleged a host of actions that purportedly
         implicated Monell liability, each of which applies to
         different class members. To start, the plaintiffs alleged that
         constitutional violations, such as the use of force or
         overcrowded or otherwise objectionable arrest conditions,
         were so “repeated” and “widespread” that they amount to
         LAPD customs. Next, the plaintiffs alleged that Chief
         Moore—a person with final decision-making authority for
         the City—was present at some protests and issued some
         arrest orders himself. The plaintiffs also claimed that some
         officers were not properly trained. And finally, the plaintiffs
         asserted that Chief Moore learned of some violations after
         they occurred but chose not to discipline the offending
         officers.
             The Injunctive Relief Class sought to enjoin the LAPD
         from violating the putative class members’ rights. The
         plaintiffs contend that these violations include (1) using
         unreasonable force on protestors; (2) imposing curfews
         without “accommodat[ing] the right to peaceably assemble
         and protest”; (3) declaring assemblies unlawful without
         “adequate amplification,” “directions,” “means,” and safe
         opportunities to disperse; (4) arresting people for
         infractions; (5) detaining arrestees for prolonged periods;
         (6) using tight handcuffs; (7) denying arrestees bathroom
         access or food and water; (8) placing arrestees “at great risk
         of exposure to COVID-19”; and (9) “booking and collecting
         information” on arrestees.
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           V. The district court certifies the classes.
             The plaintiffs moved to certify all four classes, and the
         City opposed the motion. Among other things, the City
         argued that the classes failed to satisfy Rule 23(b)’s
         prerequisites because (1) none of the classes raised common
         questions, and (2) for the damages classes, any common
         questions that might exist did not predominate over the
         individualized ones.
             The district court’s order did not fully address these
         arguments. Instead, it concluded that, because the damages
         classes bring Monell claims, there were common questions
         about whether LAPD customs or policies injured protestors.
         The district court did not analyze whether those questions
         predominated, and it did not identify any question common
         to the Injunctive Relief Class. It then certified the classes.
            The City timely filed a Rule 23(f) request to appeal,
         which was granted.
                         STANDARD OF REVIEW
              We review class certification orders for abuse of
         discretion. Sali v. Corona Reg’l Med. Ctr., 909 F.3d 996,
         1002 (9th Cir. 2018). A district court abuses its discretion if
         it commits legal error, “relies on an improper factor,” “omits
         a substantial factor,” or “commits a clear error of judgment”
         when weighing factors. Abdullah v. U.S. Sec. Assocs. Inc.,
         731 F.3d 952, 956 (9th Cir. 2013).
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                                  ANALYSIS
              I. We vacate certification of the Rule 23(b)(3)
                 damages classes because the district court did not
                 conduct a rigorous analysis.
              Class actions are the “exception to the usual rule that
         litigation is conducted by and on behalf of the individual
         named parties only.” Comcast Corp. v. Behrend, 569 U.S.
         27, 33 (2013) (quotation omitted). They are also onerous
         and costly for defendants, who may feel “pressured into
         settling questionable claims” to avoid even a “small chance
         of a devastating loss.” AT&T Mobility LLC v. Concepcion,
         563 U.S. 333, 350 (2011). This cost only increases once the
         class is certified, as the price the defendant will pay to avoid
         the “risk of a catastrophic judgment” at trial skyrockets, even
         if the claims themselves may not be meritorious. In re
         Bridgestone/Firestone, Inc., 288 F.3d 1012, 1016 (7th Cir.
         2002).
             Class certification is thus not to be granted lightly. To
         ensure that it is not, Rule 23 mandates that district courts
         “rigorous[ly] analy[ze]” whether a proposed class meets
         various requirements. Comcast, 569 U.S. at 33. The district
         court must first find, among other things, that the class raises
         common questions under Rule 23(a)—meaning, questions
         that are “central to the validity” of the claims and capable of
         being resolved “in one stroke.” Wal-Mart Stores, Inc. v.
         Dukes, 564 U.S. 338, 350 (2011). And to certify a damages
         class under Rule 23(b)(3), the burden is even higher: the
         district court must find that common questions predominate
         over individual ones. Tyson Foods, Inc. v. Bouaphakeo, 577
         U.S. 442, 453 (2016). Showing predominance is difficult,
         and it “regularly presents the greatest obstacle to class
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         certification.” CGC Holding Co., LLC v. Broad & Cassel,
         773 F.3d 1076, 1087 (10th Cir. 2014).
              Rule 23 does not impose a mere pleading standard;
         plaintiffs cannot plead their way to class certification
         through just allegations and assertions. Wal-Mart, 564 U.S.
         at 350, 359. Rather, the plaintiffs must “affirmatively
         demonstrate” by a preponderance of actual evidence that
         they satisfy all the Rule 23 prerequisites. White v. Symetra
         Assigned Benefits Serv. Co., 104 F.4th 1182, 1192 (9th Cir.
         2024) (quoting Wal-Mart, 564 U.S. at 350). In doing so,
         plaintiffs “must actually prove—not simply plead—that
         their proposed class satisfies each requirement of Rule 23.”
         Id. (quoting Halliburton Co. v. Erica P. John Fund, Inc., 573
         U.S. 258, 275 (2014)).
             As explained below, the district court did not rigorously
         analyze the Rule 23(a) commonality requirement, nor did it
         address whether common questions predominate over
         individual ones under Rule 23(b)(3). These omissions are
         magnified in this case because the plaintiffs seek damages
         for a plethora of circumstance-dependent and fact-specific
         constitutional violations that occurred during ten chaotic
         days of civil unrest across the City. We thus vacate the
         certification order for each of the damages classes.
            A. The Direct Force Class
             We start by vacating certification of the Direct Force
         Class. Rule 23(b)(3) requires district courts to scrutinize
         classes before certifying them, but the district court here did
         not consider all of Rule 23(b)(3)’s prerequisites or rigorously
         analyze the commonality question under Rule 23(a).
         Instead, it found only that “the LAPD command’s decision
         to employ less-lethal munitions in this case is a common
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         question for the Direct Force class.” And it did not address
         whether that question predominates under Rule 23(b)(3).
             This analysis was not complete. At bottom, the Direct
         Force class alleges that the LAPD used excessive force on
         protestors. But excessive force claims are fact-specific, as
         the Supreme Court has made clear in other contexts. See,
         e.g., Kisela v. Hughes, 584 U.S. 100, 104 (2018). These
         individualized considerations are no less important in a class
         action than they are in a case brought by a single plaintiff.
             Consider representative plaintiff Abigail Rodas, whose
         jaw was fractured. To prove her excessive force claim,
         Rodas must first show (1) that she was injured by the
         LAPD’s use of force, and (2) that the use of that force was
         objectively unreasonable under the totality of the
         circumstances. Graham v. Connor, 490 U.S. 386, 397
         (1989). Then, because she relies on Monell to hold the City
         liable, Rodas must also prove that an LAPD custom or policy
         was the “moving force” of her injury. Dougherty v. City of
         Covina, 654 F.3d 892, 900 (9th Cir. 2011). Customs or
         policies include “decisions of a government’s lawmakers,
         the acts of its policymaking officials, and practices so
         persistent and widespread as to practically have the force of
         law.” Connick v. Thompson, 563 U.S. 51, 61 (2011). They
         do not include officers’ independent choices. Id.
             Satisfying these requirements will be difficult, as the
         record contains conflicting evidence about the source of
         Rodas’s injury. She said in a declaration that she was hit in
         the face with a rubber bullet. But according to a hospital
         record, Rodas’s friend—who was with Rodas when she was
         injured—told nurses that Rodas hit her face when she tripped
         on the sidewalk. Tripping on a sidewalk is not a
         constitutional injury, so at a minimum, Rodas’s claim cannot
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         be resolved until a fact-finder decides whether she was hit
         with a rubber bullet or just tripped. See City of Los Angeles
         v. Heller, 475 U.S. 796, 799 (1986) (denying Monell claim
         where the plaintiff failed to prove a constitutional injury).
              But resolving the source of Rodas’s injury is only the
         first step. If the court or jury finds that she was hit with a
         rubber bullet, Rodas must also establish that the LAPD—and
         not the Santa Barbara police or Los Angeles Sheriff’s
         Department, who are not parties here—fired that bullet.
         Then, Rodas must show that firing the bullet was objectively
         unreasonable. Graham, 490 U.S. at 397. Reasonableness
         depends on the totality of the circumstances, including
         whether anyone around Rodas was throwing objects at
         police, whether she was retreating from the protest (and, if
         so, whether that would have been clear to a reasonable
         officer), whether the crowd had ignored a warning to
         disperse, and more. See Felarca v. Birgeneau, 891 F.3d 809,
         818 (9th Cir. 2018). Rodas must thus present evidence on
         all those circumstances. See id. Then, because she brings a
         Monell claim, she must also prove that an LAPD policy
         caused her injury, rather than “mere negligence” or an
         individual officer’s discretionary decision. See Dougherty,
         654 F.3d at 900.
             And here lies the problem: Even if Rodas proves every
         element of her claim, it will do nothing for the other class
         members. Shannon Lee Moore, for example, was hit at a
         different protest on a different day. To resolve her claim,
         Moore must present her own individual evidence that the
         LAPD used objectively unreasonable force, that she was
         injured as a result, and that the injury occurred because of an
         LAPD policy. Graham, 490 U.S. at 397; Dougherty, 654
         F.3d at 900. So too for Aranovich, Grenier, and every other
         member of the class.
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              The district court dismissed these problems because it
         agreed with the plaintiffs that, individual issues aside, there
         is a class-wide question about whether the force used on the
         protestors was unreasonable. But that is not a question
         amenable to class treatment because the answer in this case
         depends on what force was used, what a particular class
         member was doing, what other protestors may have been
         doing, what the officers objectively observed, and a host of
         other factors. See Felarca, 891 F.3d at 818. Put another
         way, it is not enough to merely raise common questions or
         issues to satisfy Rule 23. Rather, plaintiffs must “be
         prepared to prove” that there are critical questions or issues
         that can be resolved on a class-wide basis. Wal-Mart, 564
         U.S. at 350 (“What matters to class certification is not the
         raising of common questions but rather, the capacity of a
         class-wide proceeding to generate common answers apt to
         drive the resolution of the litigation.”) (cleaned up).
             The plaintiffs here have not shown the existence of
         common evidence that can resolve in “one stroke” the class
         members’ claims that hinge on a wide array of facts and
         circumstances. Id. On the one hand, the LAPD might
         legitimately use batons to break up protestors attacking a
         public bus with passengers inside. Felarca, 891 F.3d at 810.
         But spraying rubber bullets at people obeying a dispersal
         order would probably necessitate a different analysis. These
         situations thus require individual fact-finding and separate
         analyses.
             Given the extensive individualized evidence necessary
         to prove the Direct Force Class’s claims, the plaintiffs will
         face an uphill challenge in showing that common questions
         exist, let alone predominate over individual ones. Because
         the district court did not conduct any analysis on this issue,
         we vacate the certification of the Direct Force Class.
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            B. The Arrest Class
             We next vacate the certification of the Arrest Class.
         Because it is also mainly an excessive force class, the Arrest
         Class presents many of the same certification issues as the
         Direct Force Class. And the district court’s analysis of the
         Arrest Class is equally limited. The district court found that
         “the proposed class members’ claims concerning their
         confinement and transportation in law enforcement vehicles
         are sufficiently common based on the evidence cited by
         Plaintiffs.” As with the Direct Force Class, the district court
         did not mention Rule 23(b)(3)’s predominance requirement
         and did not sufficiently analyze Rule 23(a)’s commonality
         requirement (e.g., identify what evidence the plaintiffs could
         use to answer the alleged common questions).
             This analysis is insufficient. Like the Direct Force Class,
         each member of the Arrest Class must prove that he or she
         was injured by an LAPD officer’s objectively unreasonable
         use of force as a result of an LAPD custom or policy.
         Graham, 490 U.S. at 397; Dougherty, 654 F.3d at 900. The
         district court apparently accepted the plaintiffs’ argument
         that these elements can be established on a class-wide basis
         because the plaintiffs had alleged that “arrestees were
         uniformly tightly handcuffed,” “uniformly without water or
         bathroom access,” and “endured lengthy bus stays.” But
         Rule 23 requires plaintiffs to prove—not just assert—that
         this case raises common issues that can be decided on a
         class-wide basis and that these common issues predominate
         over individual ones.
            First, the record does not support that bus conditions
         were uniform. Although the plaintiffs insist that protestors
         were all denied water, at least one class member was given
         water when she asked for it, and many did not ask. And
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         while some class members were held on buses for seven
         hours or more, others were held for under an hour. Some
         class members were put on buses with cages while others
         were transported using public buses. The plaintiffs contend
         that these differences are immaterial, but there is a
         significant difference between, on the one hand, a protestor
         left in a cage in a bus without any windows for the better part
         of a day without food or drink and, and on the other hand, a
         protestor kept on a public bus for an hour. These differences
         should have been addressed. Wal-Mart, 564 U.S. at 355.
             Second, even if some of the arrest conditions here are
         similar enough to amount to an LAPD policy, that does not
         resolve class-wide claims. The most universal complaint
         among Arrest Class plaintiffs is that the LAPD placed them
         in tight handcuffs. But placing someone in tight handcuffs
         is not inherently unconstitutional. 1 LaLonde v. Cnty. of
         Riverside, 204 F.3d 947, 960 (9th Cir. 2000). Whether the
         use of tight handcuffs violates the Fourth Amendment, like
         other excessive force issues, is usually “fact-specific” and
         “likely to turn on the credibility of the witnesses.” Id. So a
         class member who asked for their handcuffs to be removed
         because they were losing sensation in their fingers might
         have a successful constitutional claim, especially if a jury
         believes there was no reason for the LAPD to refuse to

         1
          The City raised this argument during the certification hearing but the
         district court discounted it because it was related to “the merits of the
         proposed class members’ claims.” Although district courts should not
         deny class certification based on the merits of the claims, they “must
         consider the merits if they overlap with the Rule 23[] requirements.”
         Ellis v. Costco Wholesale Corp., 657 F.3d 970, 981 (9th Cir. 2011).
         Here, the merits of the various constitutional claims overlap extensively
         with Rule 23’s requirements, and the district court had to consider them.
         See id.
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         loosen the handcuffs. See Palmer v. Sanderson, 9 F.3d 1433,
         1436 (9th Cir. 1993). But a class member who never asked
         for their handcuffs to be removed, or whose pain a jury finds
         overstated, might not have a constitutional claim. LaLonde,
         204 F.3d at 960.
             The same is true for the other Arrest Class claims. Like
         tight handcuffs, arrest conditions can be unconstitutional,
         but it depends how unnecessarily improper the conditions
         were. See id. To proceed, the plaintiffs must present more
         evidence about the conditions protestors faced. But it is hard
         to imagine how that evidence will resolve claims “in one
         stroke.” Wal-Mart, 564 U.S. at 350. Even if we assume,
         say, that some protestors were unconstitutionally kept in
         cages for several hours, that means little for the protestors
         who sat on public buses. Resolving the claims thus would
         require fact-finding specific to individual protestors, not
         class-wide evidence establishing only that the LAPD used
         buses to conduct arrests.
             As with the Direct Force Class, it appears that
         individualized issues may likely overwhelm any common
         questions that might exist. (The Arrest Class also brings
         Fourteenth Amendment due process claims that are, if
         anything, more fact-specific than their excessive force
         claims). On remand, the district court should address what
         questions, if any, the plaintiffs could resolve using class-
         wide evidence. It should then address whether those
         questions predominate over the many individual issues.
            C. The Infraction Class
             We next vacate certification of the Infraction Class. As
         with the Direct Force and Arrest Classes, the district court
         did not address the City’s arguments that the Infraction Class
         failed to satisfy Rule 23(a)’s commonality requirement and
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         Rule 23(b)(3)’s predominance requirement.          But the
         predominance and commonality problems plaguing the
         Direct Force and Arrest Classes are just as present in the
         Infraction Class. The Infraction Class alleges that, for one
         reason or another, its members were arrested without
         individualized suspicion. The allegation that the suspicion
         must be individualized by definition render these claims
         poor candidates for class-wide resolution.
             Take representative plaintiffs Mayorca and Kazin.
         Although they were both arrested for infractions, their
         claims require different evidence. Mayorca admits that he
         heard the LAPD’s order to disperse, but he claims that the
         LAPD’s actions made it impossible to obey. To determine
         whether his arrest was lawful, a fact-finder must therefore
         decide whether the LAPD made it impossible to obey its
         orders and, if so, and whether there was still probable cause
         to arrest him. Illinois v. Gates, 462 U.S. 213, 232 (1983)
         (Probable cause is a “fluid” concept “not readily, or even
         usefully, reduced to a neat set of legal rules.”) But that
         evidence will be irrelevant to Kazin, who was arrested on a
         different day, in a different place, and after she had been
         cited for a curfew violation.
             Or, better yet, take Barrera-Trujillo and Lopez’s mother.
         Barrera-Trujillo was arrested for a curfew violation, but she
         might have been arrested before the curfew. To resolve her
         claim, a fact-finder must decide whether she was in fact
         arrested before the curfew, and if so, whether there was
         probable cause to arrest her for something else. See
         Blankenhorn v. City of Orange, 485 F.3d 463, 473 (9th Cir.
         2007). Lopez’s mother, meanwhile, was not even a
         protestor—she was simply trying to collect her son from the
         police station. She may have a stronger case that her arrest
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         was unreasonable, but her situation is too unique to be of
         much use to any other class member.
             The plaintiffs argue that these individualized issues are
         irrelevant because every class member received an
         infraction, and it is unconstitutional to detain someone only
         to charge them with an infraction. But “[i]f an officer has
         probable cause to believe that an individual has committed
         even a very minor criminal offense in his presence,” he may
         constitutionally arrest them. Atwater v. City of Lago Vista,
         532 U.S. 318, 354 (2001). And, in any event, being charged
         with an infraction does not mean that someone could not
         have been arrested for or charged with a more serious crime.
             Like the Direct Force and Arrest Classes, the Infraction
         Class that the district court certified brings claims that would
         appear to require individual fact-finding. We recognize that
         after the district court certified the classes here, the plaintiffs
         filed an amended complaint including a claim by the
         Infraction Class for deprivation of a state-created liberty
         interest in violation of the Fourth Amendment. Consistent
         with our directions elsewhere in the opinion, before
         certifying this claim, the district court should conduct a
         “rigorous analysis” to determine whether this new claim is
         capable of class-wide resolution. Wal-Mart, 564 U.S. at 351
         (citation omitted).
             On remand, the district court should identify which
         questions it believes are common to the class and whether
         those questions can be resolved using class-wide evidence.
         Then the district court should carefully consider whether
         those questions predominate over individualized ones.
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              D. We are not persuaded by the plaintiffs’
                 alternative bases for affirming the certification
                 order.
              The plaintiffs do not meaningfully dispute that the
         district court did not address Rule 23(b)(3)’s predominance
         requirement. Instead, they offer two reasons why we should
         still affirm certification of the damages classes. First, the
         plaintiffs urge us to attribute reasoning from other protest-
         related certification orders to the district court because the
         district court cited them. Second, the plaintiffs argue that
         Monell classes necessarily satisfy all of Rule 23’s
         requirements. We are not persuaded by these arguments.
                 1. The citations to other district court
                    certification orders do not satisfy Rule 23.
             To start, although the plaintiffs acknowledge that the
         district court’s order does not mention Rule 23(b)(3)’s
         predominance requirement, they ask us to affirm
         certification because the district court cited other cases in
         which courts considered predominance.            But passing
         citations to other district court orders fall short of the
         rigorous analysis Rule 23(b)(3) demands. We have vacated
         certification orders for less. See, e.g., Miles v. Kirkland’s
         Stores, 89 F.4th 1217, 1223-24 (9th Cir. 2024) (remanding
         certification order for failure to scrutinize class member
         declarations closely enough). But the citations here are
         particularly inadequate because, if anything, the cited cases
         reveal how challenging it will be to find that common
         questions predominate.
            Consider Multi-Ethnic Immigrant Workers Organizing
         Network v. City of Los Angeles, 246 F.R.D. 621 (C.D. Cal.
         2007) (MIWON). In MIWON, protestors were given advance
         permission to rally in a park until around 9:00 p.m., but the
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         police cut them off early. Id. at 624. Due to a failure in the
         chain of command, that decision was not conveyed to the
         protestors, who were hit with less-lethal force without
         warning and denied any chance to disperse. Id. The MIWON
         court certified the class, and the plaintiffs contend that we
         must embrace its reasoning and apply it here.
             Even assuming the MIWON court correctly certified the
         class, MIWON has little in common with this case. Every
         MIWON class member was subject to the same alleged
         policy failure—a broken link in the chain of command. See
         id. at 635. The MIWON protest took place at a single
         location on a single night. Id. at 624. And the class members
         thus experienced substantially similar constitutional injuries.
         Id. Here, sprawling classes allege a broad range of injuries
         based on a medley of LAPD conduct and policies, some of
         which occurred during different protests, at different times,
         and in different places. Perhaps it was possible to present
         class-wide evidence in MIWON—but that does not mean it
         would be here.
                2. Monell classes do not automatically satisfy
                   Rule 23.
             Next, the plaintiffs argue that we should affirm
         certification because Monell classes necessarily satisfy
         Rule 23(a)’s    commonality        and Rule     23(b)(3)’s
         predominance requirements. But Monell is not a magic word
         that allows a plaintiff to cast aside all the Rule 23
         requirements for class certification.
             Plaintiffs seeking class certification based on challenges
         to a defendant’s policies must show that the policies caused
         every class member’s injury. Wal-Mart, 564 U.S. at 353,
         355. This is easier to do when plaintiffs challenge formal
         policies, such as an employer’s class-wide wage-and-hour
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         policy. See, e.g., Tyson Foods, 577 U.S. at 448. It is harder
         when plaintiffs challenge informal policies, or where the
         evidence suggests that their injuries stem from discretionary
         decisions. Id. To satisfy commonality in those cases,
         plaintiffs must offer “some glue holding the alleged reasons
         for all those decisions together.” Wal-Mart, 564 U.S. at 352.
             The plaintiffs do not challenge any of the LAPD’s formal
         policies, and they acknowledge that most of their injuries
         occurred because individual officers chose to violate formal
         LAPD policies. Typically, this would defeat commonality.
         Wal-Mart, 564 U.S. at 353, 355. The plaintiffs argue,
         though, that Monell policies are unlike policies in other class
         action cases. As the plaintiffs point out, a policy is not just
         a helpful way to prove a Monell claim—it is a necessary
         element. Heller, 475 U.S. at 799. And plaintiffs can
         establish a Monell policy by demonstrating “a pattern of
         similar constitutional violations.” Connick, 563 U.S. at 62.
         So, the plaintiffs urge, when a class brings a Monell claim,
         whether there is a common question is a common question,
         and that satisfies Rule 23. We are not convinced.
             Most fundamentally, plaintiffs cannot certify a class by
         merely alleging that a policy applies class-wide—and that a
         common question thus exists—without showing how
         common evidence can be used to prove their claims across
         the class members. As the Supreme Court held, “what
         matters to class certification . . . is not the raising of common
         ‘questions’—even in droves—but rather, the capacity of a
         class-wide proceeding to generate common answers apt to
         drive the resolution of the litigation. Dissimilarities within
         the proposed class are what have the potential to impede the
         generation of common answers.” Wal-Mart 564 U.S. at 350
         (citation omitted).
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             The plaintiffs here have identified potentially common
         questions (i.e., the Monell policy) in the abstract but have
         remained silent on how they can practically provide common
         answers to those questions. Id. at 352. Simply put, the
         plaintiffs have not explained what common evidence can
         prove the claims of the hundreds, if not thousands, of the
         members in all the classes who had diverging experiences.
              Relatedly, the plaintiffs cannot simply allege that a
         policy applies class-wide—they have to present evidence
         that it does. Or, put another way: “If there is no evidence
         that the entire class was subject to the same allegedly
         [illegal] practice, there is no question common to the class.”
         Ellis, 657 F.3d at 983. The plaintiffs hope to get around this
         by relying on different policies at different stages of the
         litigation. First, for certification purposes, they wish to rely
         on their allegations that class-wide experiences of arrest, use
         of force, and tight handcuffs are unconstitutional. But
         because these policies are not necessarily unconstitutional,
         see Felarca, 891 F.3d at 818, the plaintiffs also intend to
         prove (1) that violations occurred because officers were
         improperly trained, (2) that Chief Moore ordered or
         committed some violations himself, and (3) that Chief
         Moore ratified other violations after they occurred.
             Permitting the plaintiffs to proceed this way would let
         them plead their way to class certification, which they may
         not do. Comcast, 569 U.S. at 33. And unfortunately for the
         plaintiffs, the latter policies do not apply on class-wide
         bases. The failure to train officers, for example, is only
         grounds for Monell liability if the plaintiffs identify a
         “deficiency in [the City’s] training program” that was
         “closely related to the ultimate injury” a class member
         suffered. City of Canton v. Harris, 489 U.S. 378, 391
         (1989). The City apparently waylaid its 40 mm rubber bullet
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         training program during the COVID-19 pandemic, which
         may have left junior officers unprepared, so some class
         members may be able to meet this standard. But not every
         officer who used force was untrained, and not every
         protestor in the Direct Force Class was hit with a 40 mm
         rubber bullet. So establishing this policy does not resolve
         class-wide claims.
             The same is true for Chief Moore’s presence and post-
         violation ratifications. As someone with final decision-
         making power for the City, Chief Moore’s presence at a
         protest or decision condoning a particular violation could
         establish a Monell custom or policy. See Trevino v. Gates,
         99 F.3d 911, 918 (9th Cir. 1996). But Chief Moore did not
         attend every individual protest that occurred during the
         summer of 2020, so his presence only goes so far. To the
         extent there is evidence suggesting that Chief Moore has
         condoned the conduct that caused some protestors’ injuries,
         many—if not most—of the class members did not notify the
         LAPD that they were injured. And if the LAPD did not
         know that a violation occurred, it could not have condoned
         the violation. Trevino, 99 F.3d at 918. 2




         2
           The plaintiffs have asked that, if we find the district court’s order
         lacking, we certify a Monell Issue Class under Rule 23(c)(4) rather than
         vacate the certification order outright. Although plaintiffs’ motion for
         class certification did include issue classes as an alternative to Rule
         23(b)(3) certification, the district court did not make any findings about
         issue classes. See ER 3–4, SER 37. And we will not do so in its place.
         In any event, even issue classes must satisfy Rule 23(a)’s commonality
         requirement before they can be certified. Black v. Occidental Petroleum
         Corp., 69 F.4th 1161, 1189 (10th Cir. 2023); Harris v. Med.
         Transportation Mgmt., Inc., 77 F.4th 746, 756–57 (D.C. Cir. 2023).
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             II. We vacate certification of the Injunctive Relief
                 Class because the district court did not identify
                 questions common to the class.
             We finally vacate the certification of the Injunctive
         Relief Class. Before certifying an injunctive class under
         Rule 23(b)(2), district courts must find that the class satisfies
         the Rule 23(a) factors. Fed. R. Civ. Pro. 23(b)(2). Among
         other things, Rule 23(a) requires that there are questions
         common to the class, meaning questions that answer every
         class member’s claim “in one stroke.” Wal-Mart, 564 U.S.
         at 350. While common questions need not predominate over
         individual questions for a class to be certified as a Rule
         23(b)(2) injunctive class, district courts still must identify
         what questions are common to the class and how the
         plaintiffs will present evidence about those questions on a
         class-wide basis. Id.
              The district court did not address this commonality
         requirement. The plaintiffs view this as a nonissue because
         they have already received an injunction on behalf of the
         class. 3 Injunction or not, the class should be certified only if
         it raises common questions—and it is unclear that it does.
         The plaintiffs suggest that the district court’s commonality
         findings for the damages classes apply to the Injunctive
         Relief Class, but even if the district court made any findings,
         they involved Monell policies. The Injunctive Relief Class
         does not bring a Monell claim, so those findings do not
         apply.

         3
           The City argued before the district court that the Injunctive Relief Class
         lacked Article III standing, but the district court granted a preliminary
         injunction without addressing that argument. The City did not appeal the
         preliminary injunction, and it has not objected to the class’s standing
         during this appeal.
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             The plaintiffs also point out that some other district
         courts have certified protest classes under Rule 23(b)(2).
         But as explained above, those classes involved single
         protests where all class members brought identical claims.
         See MIWON, 246 F.R.D. at 624. The Injunctive Relief Class
         here, by contrast, encompasses thousands of people who
         attended the Los Angeles George Floyd protests, including
         anyone who falls into any of the damages classes, as well as
         (1) protestors who were not hit with direct force, arrested, or
         harmed in any way; (2) protestors who were arrested for
         felonies or looting violations; and (3) protestors who threw
         water bottles and fireworks at police, among other acts of
         violence. It is hard to imagine what all these people have in
         common.
             Most courts faced with George Floyd protest classes
         seeking injunctive relief under Rule 23(b)(2)—many of
         which were narrower than the class here—denied
         certification for similar reasons. For example, a Northern
         District of California court refused to certify a group of Bay
         Area plaintiffs who sought an injunction against the Oakland
         police because the class included protestors who were
         injured by people other than the Oakland police, protestors
         who did not demonstrate peacefully, and people who were
         injured by practices other than those the class challenged.
         Anti-Police Terror Project v. City of Oakland, No. 20-cv-
         03866-JCS, 2021 WL 4846958, at *5 (N.D. Cal. Oct. 18,
         2021). The District of Oregon did the same for a similar
         class. Don’t Shoot Portland v. City of Portland, No. 3:20-
         cv-00917-HZ, 2022 WL 2700307, at *11 (D. Or. July 12,
         2022).
             On remand, the district court should address whether
         there are in fact questions common to the Injunctive Relief
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         Class. If there are not, the district court should decline to
         certify the class.
                              CONCLUSION
            We VACATE the class certification order and
         REMAND so that the district court may analyze the Rule 23
         requirements consistent with this opinion.
